              Case:Judgment
ILND 450 (Rev01/2015) 1:19-cv-04311
                            in a Civil ActionDocument   #: 88 Filed: 10/01/20 Page 1 of 1 PageID #:1128

                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS

 Matt Dinerstein,

 Plaintiff(s),
                                                                 Case No. 19 C 4311
 v.                                                              Judge Rebecca R. Pallmeyer

 Google, LLC. et al.,

 Defendant(s).

                                           JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which      includes       pre–judgment interest.
                                     does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


             in favor of defendant(s) Google, LLC., The University of Chicago, and The University of
Chicago Medical Center
             and against plaintiff(s) Matt Dinerstein

         Defendant(s) shall recover costs from plaintiff(s).


                 other:

This action was (check one):

      tried by a jury with Judge Rebecca R. Pallmeyer presiding, and the jury has rendered a verdict.
      tried by Judge Rebecca R. Pallmeyer without a jury and the above decision was reached.
      decided by Judge Rebecca R. Pallmeyer.



Date: 10/1/2020                                             Thomas G. Bruton, Clerk of Court

                                                            /s/ Nicole Fratto, Deputy Clerk
